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                    Date 30 April 2011, 19:11:35
                 Source Own work
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             Exposure time               1/250 sec (0.004)
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            ISO speed rating             100
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